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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  COUNTY OF SAN MATEO,                                Case No. 17-cv-04929-VC
                 Plaintiff,
                                                      ORDER REMANDING CASE
          v.
                                                      Re: Dkt. Nos. 223, 339
  CHEVRON CORP., et al.,
                 Defendants.



       The case is hereby remanded to the Superior Court of the State of California, County of

San Mateo. The Clerk is directed to close the case.

       IT IS SO ORDERED.

Dated: May 22, 2023
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
